Case 19-22715-CMB        Doc 63   Filed 07/17/19 Entered 07/17/19 14:52:59                 Desc Main
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                              Office of the United States Trustee
                             The Western District of Pennsylvania
                                         Liberty Center
                               1001 Liberty Avenue, Suite 970
                                    Pittsburgh, PA 15222
                          412-644-4756 (Phone) 412-644-4785 (Fax)

IN RE:                                                       Chapter 11

5171 Campbells Land Co., Inc.                                Case No. 19-22715-CMB

__________________________________________________________________________

      Notice of Formation Meeting For Official Committee of Unsecured Creditors
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        The above-named debtor(s) filed a voluntary petition for relief under Chapter 11 of the
Bankruptcy Code. Section 1102(b) of the Bankruptcy Code authorizes the United States Trustee
to appoint a committee of unsecured creditors and the debtor’s petition or other sources of
information indicate that you may be eligible for appointment to the Official Committee of
Unsecured Creditors in this case. The Committee represents the interests, and acts on behalf, of
all unsecured creditors. Members of the Committee are generally selected from the list of the
twenty largest unsecured creditors.

     This is to notify you that the United States Trustee will hold a meeting to form a
Committee on Thursday, August 1, 2019, at 10:00 A.M. at the following location:

                                    Liberty Center, Suite 740
                                      1001 Liberty Avenue
                                      Pittsburgh, PA 15222

       A representative of the debtor may be invited to attend the meeting to provide
information regarding the status of the case. If you do not wish to serve on an official
committee, your presence at the meeting is not required.

        If you wish to be considered for membership on the committee but are unable to attend,
you should immediately notify the Office of the United States Trustee. If you do not attend the
meeting and do not affirmatively indicate your willingness to serve, you will not be considered.
If you send an individual to represent you at the meeting, that representative must present your
written proxy authorizing him or her to act on your behalf. The Official Committee of
Unsecured Creditors performs a vital role in the chapter 11 proceeding, and for that reason your
interest and consideration is solicited.

                                                     ANDREW R. VARA
                                                     ACTING UNITED STATES TRUSTEE
                                                     Region 3

                                              By:    /s/Norma Hildenbrand
                                                     Norma Hildenbrand
Dated: July 17, 2019
cc: Robert O Lampl, Esquire
